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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

  TQ Delta, LLC,
               Plaintiff,

  v.                                                   Civil Action No.: 2:21-CV-00310-JRG
                                                                        (Lead Case)
  CommScope Holding Company, Inc., et al.,
             Defendants.


  TQ Delta, LLC,
               Plaintiff,
                                                       Civil Action No.: 2:21-CV-00309-JRG
  v.                                                                  (Member Case)

  Nokia Corp., et al.,
                Defendants.



                       THIRD AMENDED DOCKET CONTROL ORDER


         Before the Court is the Joint Motion to Amend the Docket Control Order filed by Plaintiff

 TQ Delta, LLC. and Defendants CommScope Holding Company, Inc., et al. and Nokia Corp., et

 al. (collectively “the Parties”).

         After due consideration, the Court GRANTS the Motion. In accordance with the granted

 Motion, it is hereby ORDERED that the Court’s prior Docket Control Order (Dkt. No. 270) is

 amended and the following schedule of deadlines is in effect until further order of this Court:

  Current Deadline         Proposed Deadline Event


  January 6, 2023          April 3, 2023         *Jury Selection – 9:00 a.m. in Marshall, Texas




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     November 28, 2022     March 1, 2023           *Pretrial Conference – 9 a.m. in Marshall, Texas
                                                   before Judge Rodney Gilstrap

     December 5, 2022      March 1, 2023           * If a juror questionnaire is to be used, an editable
                                                   (in Microsoft Word format) questionnaire shall be
                                                   jointly submitted to the Deputy Clerk in Charge
                                                   by this date.1

     November 21, 2022     February 15, 2023       *Notify Court of Agreements Reached During
                                                   Meet and Confer

                                                   The parties are ordered to meet and confer on any
                                                   outstanding objections or motions in limine. The
                                                   parties shall advise the Court of any agreements
                                                   reached no later than 1:00 p.m. three (3) business
                                                   days before the pretrial conference.

     November 21, 2022     February 8, 2023        *File Joint Pretrial Order, Joint Proposed Jury
                                                   Instructions, Joint Proposed Verdict Form,
                                                   Responses to Motions in Limine, Updated Exhibit
                                                   Lists, Updated Witness Lists, and Updated
                                                   Deposition Designations

     November 14, 2022     February 1, 2023        *File Notice of Request for Daily Transcript or
                                                   Real Time Reporting.

                                                   If a daily transcript or real time reporting of court
                                                   proceedings is requested for trial, the party or
                                                   parties making said request shall file a notice with
                                                   the Court and e-mail the Court Reporter, Shawn
                                                   McRoberts,                                         at
                                                   shawn_mcroberts@txed.uscourts.gov.

     November 7, 2022      February 1, 2023        File Motions in Limine

                                                   The parties shall limit their motions in limine to
                                                   issues that if improperly introduced at trial would
                                                   be so prejudicial that the Court could not alleviate
                                                   the prejudice by giving appropriate instructions to
                                                   the jury.

     November 7, 2022      February 1, 2023        Serve Objections to Rebuttal Pretrial Disclosures



 1
   The Parties are referred to the Court’s Standing Order Regarding Use of Juror Questionnaires
 in Advance of Voir Dire.

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     October 31, 2022      January 25, 2023        Serve Objections to Pretrial Disclosures; and
                                                   Serve Rebuttal Pretrial Disclosures

     October 17, 2022      January 11, 2023        Serve Pretrial Disclosures (Witness List,
                                                   Deposition Designations, and Exhibit List) by the
                                                   Party with the Burden of Proof

     October 14, 2022      January 6, 2023         *Response to Dispositive Motions (including
                                                   Daubert Motions). Responses to dispositive
                                                   motions that were filed prior to the dispositive
                                                   motion deadline, including Daubert Motions,
                                                   shall be due in accordance with Local Rule CV-
                                                   7(e), not to exceed the deadline as set forth in this
                                                   Docket Control Order.2 Motions for Summary
                                                   Judgment shall comply with Local Rule CV-56.

     September 30, 2022    December 14, 2022       *File Motions to Strike Expert Testimony
                                                   (including       Daubert        Motions)

                                                   No motion to strike expert testimony (including a
                                                   Daubert motion) may be filed after this date
                                                   without leave of the Court.

     September 30, 2022    December 14, 2022       *File Dispositive Motions

                                                   No dispositive motion may be filed after this date
                                                   without leave of the Court.

                                                   Motions shall comply with Local Rule CV-56 and
                                                   Local Rule CV-7. Motions to extend page limits
                                                   will only be granted in exceptional circumstances.
                                                   Exceptional circumstances require more than
                                                   agreement among the parties.

     September 23, 2022    December 7, 2022        Deadline to Complete Expert Discovery


     September 20, 2022    November 18, 2022 Serve Disclosures for Rebuttal Expert Witnesses




 2
   The parties are directed to Local Rule CV-7(d), which provides in part that “[a] party’s failure
 to oppose a motion in the manner prescribed herein creates a presumption that the party does not
 controvert the facts set out by movant and has no evidence to offer in opposition to the motion.”
 If the deadline under Local Rule CV 7(e) exceeds the deadline for Response to Dispositive
 Motions, the deadline for Response to Dispositive Motions controls.

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 (*) indicates a deadline that cannot be changed without showing good cause. Good cause is not
 shown merely by indicating that the parties agree that the deadline should be changed.


 ADDITIONAL REQUIREMENTS

         Mediation: While certain cases may benefit from mediation, such may not be appropriate
 for every case. The Court finds that the Parties are best suited to evaluate whether mediation will
 benefit the case after the issuance of the Court’s claim construction order. Accordingly, the Court
 ORDERS the Parties to file a Joint Notice indicating whether the case should be referred for
 mediation within fourteen days of the issuance of the Court’s claim construction order. As a
 part of such Joint Notice, the Parties should indicate whether they have a mutually agreeable
 mediator for the Court to consider. If the Parties disagree about whether mediation is appropriate,
 the Parties should set forth a brief statement of their competing positions in the Joint Notice.

         Summary Judgment Motions, Motions to Strike Expert Testimony, and Daubert
 Motions: For each motion, the moving party shall provide the Court with two (2) hard copies of
 the completed briefing (opening motion, response, reply, and if applicable, sur-reply), excluding
 exhibits, in D-three-ring binders, appropriately tabbed. All documents shall be single-sided and
 must include the CM/ECF header. These copies shall be delivered to the Court within three (3)
 business days after briefing has completed. For expert-related motions, complete digital copies of
 the relevant expert report(s) and accompanying exhibits shall be submitted on a single flash drive
 to the Court. Complete digital copies of the expert report(s) shall be delivered to the Court no later
 than the dispositive motion deadline.

         Indefiniteness: In lieu of early motions for summary judgment, the parties are directed to
 include any arguments related to the issue of indefiniteness in their Markman briefing, subject to
 the local rules’ normal page limits.

        Lead Counsel: The Parties are directed to Local Rule CV-11(a)(1), which provides that
 “[o]n the first appearance through counsel, each party shall designate a lead attorney on the
 pleadings or otherwise.” Additionally, once designated, a party’s lead attorney may only be
 changed by the filing of a Motion to Change Lead Counsel and thereafter obtaining from the Court
 an Order granting leave to designate different lead counsel.

         Motions for Continuance: The following excuses will not warrant a continuance nor
 justify a failure to comply with the discovery deadline:

 (a)    The fact that there are motions for summary judgment or motions to dismiss pending;

 (b)    The fact that one or more of the attorneys is set for trial in another court on the same day,
        unless the other setting was made prior to the date of this order or was made as a special
        provision for the parties in the other case;

 (c)    The failure to complete discovery prior to trial, unless the parties can demonstrate that it
        was impossible to complete discovery despite their good faith effort to do so.


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        Amendments to the Docket Control Order (“DCO”): Any motion to alter any date on
 the DCO shall take the form of a motion to amend the DCO. The motion to amend the DCO shall
 include a proposed order that lists all of the remaining dates in one column (as above) and the
 proposed changes to each date in an additional adjacent column (if there is no change for a date
 the proposed date column should remain blank or indicate that it is unchanged). In other words,
 the DCO in the proposed order should be complete such that one can clearly see all the remaining
 deadlines and the changes, if any, to those deadlines, rather than needing to also refer to an earlier
 version of the DCO.

        Proposed DCO: The Parties’ Proposed DCO should also follow the format described
 above under “Amendments to the Docket Control Order (‘DCO’).”

         Joint Pretrial Order: In the contentions of the Parties included in the Joint Pretrial Order,
 the Plaintiff shall specify all allegedly infringed claims that will be asserted at trial. The Plaintiff
 shall also specify the nature of each theory of infringement, including under which subsections of
 35 U.S.C. § 271 it alleges infringement, and whether the Plaintiff alleges divided infringement or
 infringement under the doctrine of equivalents. Each Defendant shall indicate the nature of each
 theory of invalidity, including invalidity for anticipation, obviousness, subject-matter eligibility,
 written description, enablement, or any other basis for invalidity. The Defendant shall also specify
 each prior art reference or combination of references upon which the Defendant shall rely at trial,
 with respect to each theory of invalidity. The contentions of the Parties may not be amended,
 supplemented, or dropped without leave of the Court based upon a showing of good cause.




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